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A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                                             CASE NUMBER:         8:04-cr-219-T-23MAP
                                                             USM NUMBER:          17202-424
VS.



JACEK KOZLOWSKI
   a/Wa "Placek"                                                      Defendant's Attorney: Stephen A. Leal, cja

TIiE DEFENDANT:

 X pleaded guilty to count ONE of the Superseding Indictment.


TITLE & SECTION                              NATURE OF OFFENSE                          OFFENSE ENDED              COUNT

21 U.S.C. 5 846 and 841(b)(l)(C)             Conspiracy to Possess with the             August 2004                ONE
                                             Intent to Distribute MDMA and
                                             Distribution of MDMA

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

X Counts nvo and three of the Superseding Indictment and counts one and two of the underlying Indictment are dismissed on the
motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                               Date of Imposition of Sentence: January 30, 2006




                                                                                   STEVEN D. h4ERRYDAY
                                                                               UNITED STATES DISTRICT JUDGE

                                                                               DATE: January 3 ~ S ? 2 0 0 6
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         JACEK KOZLOWSKI                                                                          Judgment - Page 2 of 5
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                                                             IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total tern of ONE HUNDRED SIXTY-EIGHT (168) MONTHS as to count one of the Superseding
Indictment.




  X The court makes the following recommendations to the Bureau of Prisons: (1) that the defendant be placed in FCI
Coleman, Florida, or in the nearest minimal security facility to FCI Coleman. and (2) that the defendant be allowed to participate
in the 500-Hour Comprehensive Drug Treatment Program.



-
S The defendant is remanded to the cuslody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at - a.m./p.m. on -.
          - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -,
          - as notified by the United States Marshal.
          - as notified by the Probation 01- Pretrial Services Office.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

at                                                                       , with a certified copy of this judgment.


                                                                                        United States Marshal

                                                                     By:
                                                                                        Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:         JACEK KOZLOWSKI                                                                Judgment - Page 3 of 6
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                                                        SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of THIRTY-SIX (36) MOhlTHS
as to count one of the Superseding Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 8 921.

X        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
         the Schedule of Payments sheet of this judgment.

         The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
         conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
1)        the defendant shall not lcavc thc judicial district without the permission of the court or probation officer;

2         the defendant shall rcport to thc probation officer and shall submit a truthful and completc written report within thc first five days
          of each month;

3)        the dcfcndant shall answcr truthfi~llyall inquiries by the probation officer and follow thc instructions of the probation officcr;
4         the defendant shall support his or her dcpcndents and meet other family responsibilities;

5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other
          acceptable reasons:

6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

7)        the defendant shall rcfrain from excessive use of alcohol and shall not purchase, possess, use, distributc, or administer any
          controlled substance or any paraphcmalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places whcrc controlled substances are illegally sold, used, distributed, or administered;

9   >     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;

10)       the defendant shall pemiit a probation officer to visit him or her at any time at home or clscwhere and shall permit confiscation of
          any contraband observed in plain vicw of the probation officer:

1 I)      the defendant shall notify the probation officer within seventy-two hours of bcing arrcstcci or qucstioncd by a law enforcement
          offi cer;

12)       the defendant shall not cntcr into any agreement to act as an informer or a special agent of a law enforcement agency without the
          pem~issionof the court;

13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release
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Defendant:        JACEK KOZLOWSKI                                                           Judgment - Page 4 of 6
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                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


-
X        If the defendant is deported. he shall not re-enter the United States without the express permission of the appropriate
         governmental authority, currently the United States Department of Homeland Security.
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A 0 245B (Rev 12/03) Sheet 5 - Crilninal Monetary Penalties

Defendant:         JACEK KOZLOWSKI                                                         Judgment - Page 5 of 6
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                                           CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessme~lt                         Fiue                       Total Restitution

         Totals:            $100.00                             $ waived                   $


-        The determination of restitution is deferred until         .    An A~nendedJudgnlent irz a Cri~nirzalCase ( A 0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including cornn~unityrestitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or .percentage pa ment column below. However, pursuant to 18 U. S.C. $
         3664(i), all non-federal victims must be pald before the dnited States.
                                                                                                              Priority Order or
                                                *Total                      Amount of                         Percentage of
                                              Amount of Loss             Restitution Ordered                  Pallment




                            Totals:           $.-                        L-

 -         Restitution amount ordered pursuant to plea agreement $
 -         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S .C. 5 36 12(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 36 12(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -         the interest requirement is waived for the - fine       - restitution.
         -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 110A, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23. 1f96.
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A 0 245B (Rev 12103) Sheet 6 - Schedule of Paytne~lts

Defer~dant:        JACEK KOZLOWSKI                                                         Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



I-laving assessed the defendant's ability to pay, payment of the total criminal molletary penalties are due as follows:

A.         X       Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than                  , or

                             -in accordance - C, - D, - E or - F below; or
B.       -         Payment to begin i~mnediately(may be combined with -C, -D, or -F below); or
C.       -         Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $             over a
                   period of          (e.g ., months or years), to commence              days (e.g., 30 or 60 days) after the
                   date of this judgment; or
D.       -         Payment in equal                (e.f., weekly, monthly, quarterly) installments of $             over a
                   period of             , (e.g., mon IS or years) to commence                   (e.g. 30 or 60 days) after
                   release from imprisonment to a term of supervision; or
E.       -         Payment during the term of supervised release will commence within                         (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of                             payment of criminal
monetar penalties is due during im risonment. All criminal monetary penalties,                                       made through the
          6                              b
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-         Tlle defendant shall pay the cost of prosecution.
-         The defendant shall pay the following court cost(s):
          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal. (3) restitution interest, (4) fine principal,
( 5 ) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
